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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT BLUEFIELD


JAMES E. GRAHAM II; DENNIS ADKINS;
ROGER WRISTON; and DAVID B. POLK;
on behalf of themselves and others similarly
situated; and UNITED MINE WORKERS OF
AMERICA INTERNATIONAL UNION,

Plaintiffs,

v.                                                 CIVIL ACTION NO. 1:19-cv-00597

JUSTICE ENERGY CO. INC.;
KEYSTONE SERVICE INDUSTRIES, INC.;
BLUESTONE COAL CORPORATION;
DOUBLE-BONUS COAL CO.; and
SOUTHERN COAL CORPORATION,

Defendants.

                            PLAINTIFFS' STATUS REPORT

          On May 17, 2024, Plaintiffs herein ("UMWA") filed a Status Report with this

 Court requesting that its Motion for Contempt continue to be held in abeyance through

 Friday, August 30, 2024, while the UMWA and Defendants herein ("Bluestone Coal")

 worked to resolve remaining unpaid bills incurred by retirees after Bluestone Coal placed

 its health plan and prescription drug coverage under the management of a new

 administrator. At that time, financial corrections had been made to some, but not all, of

 retirees' accounts. By Order dated June 6, 2024 (Doc. No. 81) this Court directed that

 the case remain stayed through August 30, 2024.
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      Presently, the parties have addressed the unpaid bills, and retirees have had

relevant outstanding claims paid or have received reimbursement. Accordingly, the

issues that gave rise to the Motion for Contempt no longer present themselves, and the

UMWA does not seek to extend the Court's stay of this action further.


                                 Respectfully Submitted,

                                                 /s/ Kevin F. Fagan
                                 Kevin F. Fagan, Esquire - WVSB No. 5216
                                 United Mine Workers of America
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                       CERTIFICATE OF SERVICE

     I hereby certify that on this 29th day of August, 2024, I electronically filed the

foregoing PLAINTIFFS’ STATUS REPORT AND VOLUNTARY MOTION TO

DISMISS PURSUANT TO FRCP RULE 41(a) and LR 41.1 with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to CM/ECF

participants and to counsel of record, and that I have served it upon:

                           Stephen W. Ball, General Counsel
                           Bluestone Resources, Inc.
                           560 Main St. W.
                           White Sulphur Springs, WV 24986
                           steve.ball@bluestone-coal.com


                                                 /s/ Kevin F. Fagan
                                     Kevin F. Fagan, Esquire - WVSB No. 5216
                                     United Mine Workers of America
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